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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


 UNITED STATES of AMERICA                                                              PLAINTIFF

        V.                            NO. 5:10-CR-50110-004

 NOE TORRES CAVILLO                                                                  DEFENDANT


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

        Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

 General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

 a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing

 was conducted on December 16, 2011, and, pursuant to a written plea agreement, the Defendant

 entered a plea of guilty to an Information (ECF No. 164) alleging that on or about an unknown

 date, but at least as early as March 1, 2010, and continuing to on or about July 27, 2010, in the

 Western District of Arkansas, Fayetteville Division, the defendant , NOE TORRES CAVILLO,

 did knowingly and intentionally combine, conspire, confederate and agree with others known and

 unknown to the United States Government, to unlawfully distribute a controlled substance,

 namely, methamphetamine, a Schedule II controlled substance, in violation of Title 21 U.S.C §

 841(a)(1), all in violation of Title 21 U.S.C. § 846.

        The plea agreement (ECF No. 169) states that if it is accepted by the Court, once the

 Court has pronounced sentence, the Government will move to dismiss the Indictment.

        After conducting the hearing in the form and manner prescribed by Rule 11, the

 undersigned finds:

        1.      The Defendant, after consultation with his counsel, has knowingly and voluntarily
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 consented, both in writing and on the record at the hearing, to the entry of his guilty plea before

 the undersigned, with the plea being subject to final approval by Chief United States District

 Judge Jimm Larry Hendren.

        2.      The Defendant and the Government have entered into a written plea agreement

 which has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has

 directed that the plea agreement be filed. That the Defendant acknowledged that he read,

 understood and signed the agreement.

        3.      The Defendant is fully competent and capable of entering an informed plea; the

 Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

 consequences of the plea; the Defendant is fully satisfied with his counsel and has had sufficient

 time to consult with him; and the plea of guilty is a knowing and voluntary plea supported by an

 independent basis in fact containing each of the essential elements of the offense.

        4.      The Defendant understands his constitutional and statutory rights and wishes to

 waive these rights.

        5.      The parties were informed, both in writing and on the record at the hearing, of

 their right to file written objections within fourteen (14) days after receipt of this Report and

 Recommendation. To expedite acceptance of the guilty plea, the parties waived, both on the

 record and in writing, their right to file objections. (ECF No. 170).

        Based on the foregoing, the undersigned recommends that the guilty plea be accepted and

 that the written plea agreement be tentatively approved, subject to final approval at sentencing.



        IT IS SO ORDERED this December 19, 2011.
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                                    /s/ J. Marschewski
                                    James Marschewski
                                    Chief United States Magistrate Judge
